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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JOSE A. CASTILLO ALEMAN                                 §
                                                        §
VS.                                                     §      CIVIL ACTION NO. 21-2970
                                                        §
WATERMARK RESTORATION, INC.                             §

                      PLAINTIFF’S SECOND AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         Now comes JOSE A. CASTILLO ALEMAN (hereinafter referred to as Plaintiff), and

files this Second Amended Complaint complaining of WATERMARK RESTORATION, INC.

a/k/a    DONAHOO        RESTORATION,             INC.   (hereinafter   referred     to    as   Defendant

“WATERMARK”), WATERMARK RESTORATION, LTD. (hereinafter referred to as

Defendant “WATERMARK, LTD”), BSG PAINTING, LLC (hereinafter referred to as “BSG”)

and BLG PAINTING, LLC (hereinafter referred to as “BLG”) collectively referred to as

Defendants, and for such cause of action, would respectfully show unto the court as follows:

                                         I.       PARTIES

PLAINTIFF

1.1      Plaintiff, JOSE A. CASTILLO ALEMAN, is a resident of Harris County, Texas.

DEFENDANTS

1.2.     Defendant,    WATERMARK                RESTORATION,           INC.       a/k/a    DONAHOO

RESTORATION, INC. (hereinafter “WATERMARK”) is an Alabama incorporated business

with its principal place of business in Birmingham, Alabama that is authorized to and licensed to

conduct business in Harris County, Texas. Defendant has answered and appeared herein. No

additional service is necessary at this time.
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1.3      Defendant, WATERMARK RESTORATION, LTD, (hereinafter “WATERMARK

LTD”) is a domestic limited partnership with its principal place of business in Houston, Harris

County, Texas authorized to and doing business in Harris County, Texas. Defendant has answered

and appeared herein. No additional service is necessary at this time.

1.4      Defendant, BSG PAINTING, LLC, is a Florida limited liability company that engages in

business in the State of Texas. Defendant has been served but has not filed an answer as of this

date.

1.5      Defendant, BLG PAINTING, LLC, is a Florida limited liability company that engages in

business in the State of Texas and may be served with process by serving its registered agent:

                                           Lizbeth Falcon
                                       1768 Fawn Creek Cove
                                       Orlando, Florida 32824

                              II.     VENUE AND JURISDICTION

2.1      Jurisdiction is founded on diversity of citizenship under 28 U.S.C. § 1332.

2.2      The matter in controversy exceeds $75,000.00, exclusive of interest and cost.

2.3      A substantial part of the events or omissions forming the basis of this complaint occurred

in Harris County, Texas, which is located within the boundaries and jurisdiction of the United

States District Court for the Southern District of Texas.


                                    III. ALTER-EGO/MISNOMER

3.1      In the event any parties are misnamed or not included herein, it is Plaintiff’s contention

that such was a "misnomer” and/or such parties are/were "alter egos" of parties named herein.

Alternatively, the Plaintiff contends that such "corporate veils" should be pierced to hold such

parties properly included in the interest of justice. In the event that the true parties are

misidentified, Plaintiff hereby asserts reliance upon the doctrine of misidentification.
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                          IV.     GENERAL ALLEGATIONS OF FACTS

4.1     On or about May 4, 2020, Plaintiff, JOSE A. CASTILLO ALEMAN was working on a

balcony on the 3rd floor at an apartment complex located at 168 Webster St., Houston, Harris

County, Texas, when he suddenly and without warning violently fell to the ground and sustained

serious and permanent bodily injuries.

4.2     Due to the horrific incident which makes the basis of this lawsuit, the Plaintiff was forced

to endure fractures at the T4 and T5 and underwent a T1-8 PSIF, T4-5 decompressive laminectomy

(date of surgery 5/8/2020).

4.3     Defendant     WATERMARK               RESTORATION,        INC.    and     WATERMARK

RESTORATION, LTD, the general contractor, served as the onsite construction, renovation and

restoration contractor on site. As a result, Defendant asserted contractual and/or actual control at

the job site including, the specific work being performed and safety at the job site. Plaintiff was

conducting work for the benefit of Defendant. Due to the negligence of the Defendant, Plaintiff,

JOSE A. CASTILLO ALEMAN, fell from the third floor while working under the operational

direction and control of Defendant. Defendant was in control of the site and had contractual and

actual control of the site, safety and job.

4.4     Plaintiff, JOSE A. CASTILLO ALEMAN, was working with Defendant BSG

PAINTING, LLC and/or BLG PAINTING, LLC at the time of the incident which makes the

basis of this lawsuit. Defendant BSG and/or BLG additionally asserted contractual and/or actual

control at the job site including, the specific work being performed and safety at the job site.

Plaintiff was conducting work for the benefit of Defendant. Due to the negligence of the

Defendant, Plaintiff, JOSE A. CASTILLO ALEMAN, fell from the third floor while working

under the operational direction and control of Defendant. Defendant was in control of the site and

had contractual and actual control of the site, safety and job.
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4.5    Plaintiff, JOSE A. CASTILLO ALEMAN, suffered serious and permanent bodily

injuries and damages to his body in general.

                      V. CAUSES OF ACTION AGAINST DEFENDANTS

                                 COUNT 1: NEGLIGENCE

5.1    Defendants, WATERMARK, WATERMARK, LTD., and BSG and/or BLG owed a duty

to JOSE A. CASTILLO ALEMAN, both by contractual control and actual control to ensure,

maintain, and control a safe work place and to properly supervise and to identify and correct

hazards to include fall protection for the benefit of JOSE A. CASTILLO ALEMAN.

5.2    Defendants exercised and/or retained contractual and actual control over the manner in

which the work was performed and the fall protection.

5.3    Defendant negligently failed to ensure, maintain, and control a safe work place, to include

the fall protection associated with the scope of work and overall safety of the project and to

properly supervise and inspect the individuals, equipment, materials, and construction procedures

of sheathing and decking and to adequately make modifications and repairs to the unreasonably

dangerous condition that eventually injured JOSE A. CASTILLO ALEMAN. Defendant

negligently failed to ensure, maintain, and control a safe work place and to properly supervise,

identify and correct hazards that could expose workers to falls, to include noncompliance with

their own safety rules. As a result, JOSE A. CASTILLO ALEMAN suffered traumatic bodily

injuries, and for which Plaintiff has now suffered severe damages as specified herein for which

Plaintiff now sues.

5.4    Defendant had a duty to use reasonable care to keep the premises and work area under their

control in a safe condition.

5.5    Defendant exercised and/or retained actual and contractual control over the manner in

which the work was preformed and had knowledge of the risks, dangers and hazards associated
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with the dangers, hazards and risks of conditions exposing workers to falls while working on

exterior walls.

5.6    Defendant failed in their duty to use ordinary care in retaining its employees, and the

Defendants failed in their duty to use ordinary care in training their employees and ensuring the

fall protection was in compliance with OSHA standards to include and identification of hazards

and a correction of those hazards exposing workers to falls. Defendants negligently failed to

supervise, retain, train their employees, follow its safety protocols, and as a direct and proximate

result, JOSE A. CASTILLO ALEMAN fell, for which Plaintiff now sues.

5.7    Additionally, the fall in question and resulting injuries of JOSE A. CASTILLO

ALEMAN were caused by the negligence of one or more agents, servants, or employees of

Defendants in one or more of the following particulars:

       a.)        In failing to properly design, inspect, erect and/or install the fall protection over
                  which it had authority and control to take corrective action;

       b.)        In failing to provide adequate supervision and direction regarding the fall
                  protection;

       c.)        In failing to give adequate warning regarding hidden dangers;

       d.)        In failing to require and/or to ensure that a “competent person” and “qualified
                  person” design, inspect, erect and/or install the fall protection;

       e.)        In failing to provide adequate training and/or instructions regarding the installation
                  and/or erection of the fall protection;

       f.)        In failing to inspect the equipment of the fall protection when contractually and
                  actually obligated to do so for the benefit of all workers on the job site; and

       g.)        In failing to inspect he work site and premises.

5.8    Plaintiff alleges that each and every one of the aforesaid careless and negligent acts and/or

omissions on the part of these Defendant constitute negligence, to include res ipsa loquitur, as

Defendants herein had sole control of the safety on the jobsite, the specifics of the work to be
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performed and asserted control of safety with the authority to inspect, identify and control safety

hazards to include fall protection to eliminate, reduce or control exposure to falls, which was the

proximate cause and producing cause of the bodily injuries sustained by Plaintiff, JOSE A.

CASTILLO ALEMAN.

                         COUNT II: NEGLIGENT UNDERTAKING

5.9     Defendant by and through their principals, vice-principals, superintendents, employees,

agents and assigns, undertook to perform progress reports and safety inspections of the construction

site in question that they knew or should have known were necessary for Plaintiff ’s protection.

Defendant failed to use reasonable care in performing those services to include safety inspections.

Plaintiff relied upon Defendant’s performance and Defendant’s performance increased the risk of

harm to Plaintiff.

                                          VI.      DAMAGES

6.1     Plaintiff, JOSE A. CASTILLO ALEMAN, is entitled to the following legal damages as

a result of the conduct of the Defendants:

        (a)     Medical, hospital, pharmaceutical expenses in the past;

        (b)     Medical, hospital, pharmaceutical expenses that, in reasonable probability, he will
                incur in the future;

        (c)     Loss of earnings capacity in the past;

        (d)     Loss of earning capacity that, in reasonable probability, he will sustain in the future;

        (e)     Physical pain and suffering in the past;

        (f)     Physical pain and suffering that, in reasonable probability, he will suffer in the
                future;

        (g)     Mental anguish in the past;

        (h)     Mental anguish that, in reasonable probability, he will suffer in the future;

        (i)     Disfigurement in the past;
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       (j)     Disfigurement that, in reasonable probability, he will suffer in the future;

       (k)     Physical impairment in the past;

       (l)     Physical impairment that, in reasonable probability, he will suffer in the future;

       (m)     Loss of enjoyment of life in the past; and

       (n)     Loss of enjoyment of life that, in reasonable probability, he will suffer in the future.

6.2    The above enumerated damages were proximately caused by the negligence of the

Defendant and/or their servants, agents and/or employees acting within the course and scope of

their employment and/or agency. Plaintiff, JOSE A. CASTILLO ALEMAN, therefore, pleads

for an amount of actual damages which the jury deems reasonable, which is in excess of the

minimal jurisdictional limits of this court.

                                       VII.    JURY DEMAND

7.1    Plaintiff respectfully requests a trial by jury.

                   VIII. PREJUDGMENT & POSTJUDGMENT INTEREST

8.1    Plaintiff is entitled to recovery of pre-judgment and post-judgment interest.

                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendants be cited

to appear and answer herein; that upon a final trial by jury, that a Judgment be rendered for Plaintiff

and against the Defendants for actual damages in an amount the jury deems reasonable, which is

in excess of the minimum jurisdictional limits of the Court, along with costs of court, and both

past and pre-judgment interest as allowed by law, and for such other and further relief to which

Plaintiff may be justly entitled.
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                                             Respectfully submitted,

                                             THE HERRERA LAW FIRM, INC.
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                                      BY:           /s/ - JORGE A. HERRERA
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                                             ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF SERVICE
       I hereby certify that on the 4th day of May, 2022, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

Kelly C. Hartmann
Kirsten D. Morris
Galloway, Johnson, Tompkins, Burr & Smith
1301 McKinney, Suite 1400
Houston, Texas 77010
                                             /S/ JORGE A. HERRERA
                                             JORGE A. HERRERA
